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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


AUTISM SOCIETY OF MICHIGAN,
et al,

               Plaintiffs,                            Case No. 5:05-CV-73

v                                                     Hon. Gordon J. Quist

RONALD FULLER, et al,

            Defendants.
___________________________________/

                 ORDER DENYING MOTION TO COMPEL DISCOVERY

               Pending before the court is Plaintiff’s Motion to Compel Discovery (docket no.

29). This motion was filed prior to the complaint being amended for a second time and the

subsequent filing of a motion to dismiss by the defendants, based on their assertion plaintiff(s)

lack standing to bring this action. At the joint status conference held in this matter on June 14,

2005, it was decided that any discovery during the time a motion to dismiss based on an

allegation of lack of standing was pending would be limited to the issue of standing. The

discovery presently sought does not appear to go to the issue of standing. The motion to dismiss

has been fully briefed and will be decided by the court shortly.

               Accordingly, the motion to compel discovery (docket no. 29) is premature and

will be DENIED, without prejudice to the motion being refiled in the event that defendants do

not provide appropriate discovery following resolution of the pending motion to dismiss.
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             IT IS SO ORDERED.


Dated: January 19, 2006            /s/ Hugh W. Brenneman, Jr.
                                   Hugh W. Brenneman, Jr.
                                   United States Magistrate Judge
